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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

BRAD BAUMAN, )

Plaintiff, §

v. § Civil Case No. 18-01191 (RJL)
EDWARD BUTOWSKY, et al., §

Defendants. §

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(March _, 2019) [Dia. ## 12, 14] mem U.S_ wm & Bankmmcy

Cou.'ts fur the District of Cn‘.umhi:)

For the reasons set forth in the accompanying Memorandum Opinion, it is hereby

ORDERED that defendant Edward Butowsky’s motion to dismiss for failure to
state a claim, [Dkt. # 12], and defendant Howard Gary Heavin’s motion to dismiss for lack
of personaljurisdiction, [Dkt. # 14], are GRANTED; and it is further

ORDERED that this case is DISMISSED as to those defendantsl

SO ORDERED.

TZM

RICHARD J.\n’EoN
United States District Judge

